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                IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

U.S. SECURITIES AND EXCHANGE          :     CIVIL ACTION
COMMISSION,                           :     NO. 16-5176
                                      :
         Plaintiff,                   :
                                      :
    v.                                :
                                      :
LOUIS T. BUONOCORE, et al.,           :
                                      :
         Defendants.                  :


           FINAL JUDGMENT AS TO DEFENDANT DON L. ROSE

         AND NOW, this 24th day of May, 2018, pursuant to the

Court’s order dated May 24, 2018 granting Plaintiff’s motion for

disgorgement, prejudgment interest, civil penalty, and entry of

final judgment against Defendant Don L. Rose, it is hereby

ORDERED that JUDGMENT is ENTERED in favor of Plaintiff U.S.

Securities and Exchange Commission (“the SEC”) and against

Defendant Rose as follows:

         1.     It is hereby ORDERED, ADJUDGED, and DECREED that

Defendant Rose is permanently restrained and enjoined from

violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C.

§ 78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R.

§ 240.10b-5, by using any means or instrumentality of interstate

commerce, or of the mails, or of any facility of any national
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securities exchange, in connection with the purchase or sale of

any security:

                (a) to employ any          device,    scheme,    or
                artifice to defraud;

                (b) to make any untrue statement of a
                material fact or to omit to state a material
                fact   necessary   in  order  to  make   the
                statements made, in the light of the
                circumstances under which they were made,
                not misleading; or

                (c) to engage in any act, practice, or
                course of business which operates or would
                operate as a fraud or deceit upon any
                person.

         2.     It is further ORDERED, ADJUDGED, and DECREED

that, as provided in Federal Rule of Civil Procedure 65(d)(2),

the foregoing paragraph also binds the following who receive

actual notice of this final judgment by personal service or

otherwise: (a) Defendant Rose’s officers, agents, servants,

employees, and attorneys; and (b) other persons in active

concert or participation with Defendant Rose or with anyone

described in (a).

         3.     It is further ORDERED, ADJUDGED, and DECREED that

Defendant Rose is permanently restrained and enjoined from

violating Section 17(a) of the Securities Act of 1933 (the

“Securities Act”), 15 U.S.C. § 77q(a), in the offer or sale of

any security by the use of any means or instruments of




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transportation or communication in interstate commerce or by use

of the mails, directly or indirectly:

               (a) to employ any           device,    scheme,    or
               artifice to defraud;

               (b) to obtain money or property by means of
               any untrue statement of a material fact or
               any omission of a material fact necessary in
               order to make the statements made, in light
               of the circumstances under which they were
               made, not misleading; or

               (c) to engage in any transaction, practice,
               or course of business which operates or
               would operate as a fraud or deceit upon the
               purchaser.

         4.    It is further ORDERED, ADJUDGED, and DECREED

that, as provided in Federal Rule of Civil Procedure 65(d)(2),

the foregoing paragraph also binds the following who receive

actual notice of this final judgment by personal service or

otherwise: (a) Defendant Rose’s officers, agents, servants,

employees, and attorneys; and (b) other persons in active

concert or participation with Defendant Rose or with anyone

described in (a).

         5.    It is further ORDERED, ADJUDGED, and DECREED that

Defendant Rose is permanently restrained and enjoined from

violating Section 13(d) of the Exchange Act, 15 U.S.C. § 78m(d),

and Rules 13d-1 and 13d-2, 17 C.F.R. §§ 240.13d-1, 240.13d-2,

promulgated thereunder by, after acquiring directly or

indirectly the beneficial ownership of any equity security of a


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class which is registered pursuant to Section 12 of the Exchange

Act, 15 U.S.C. § 78l, and becoming directly or indirectly the

beneficial owner of more than 5 per centum of such class,

failing to file with the SEC within 10 days after such

acquisition a statement containing the information required by

Exchange Act Schedule 13D, as provided in 17 C.F.R. § 240.13d-

101.

           6.    It is further ORDERED, ADJUDGED, and DECREED

that, as provided in Federal Rule of Civil Procedure 65(d)(2),

the foregoing paragraph also binds the following who receive

actual notice of this final judgment by personal service or

otherwise: (a) Defendant Rose’s officers, agents, servants,

employees, and attorneys; and (b) other persons in active

concert or participation with Defendant Rose or with anyone

described in (a).

           7.    It is further ORDERED, ADJUDGED, and DECREED that

Defendant Rose is permanently barred from participating in an

offering of penny stock, including engaging in activities with a

broker, dealer, or issuer for purposes of issuing, trading, or

inducing or attempting to induce the purchase or sale of any

penny stock.1



1
            A penny stock is any equity security that has a price of less
than five dollars, except as provided in Rule 3a51-1 under the Exchange Act,
17 C.F.R. § 240.3a51-1.


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           8.     It is further ORDERED, ADJUDGED, and DECREED that

Defendant Rose is liable for disgorgement of $914,249.56,

representing profits gained as a result of the conduct alleged

in the Complaint, together with prejudgment interest thereon in

the amount of $138,568.41.       Defendant Rose shall satisfy this

obligation by paying $1,052,817.97 to the SEC within 14 days

after entry of this final judgment.2

           9.     It is further ORDERED, ADJUDGED, and DECREED that

Defendant Rose shall pay a civil penalty in the amount of

$914,249.56 to the SEC pursuant to Section 20(d) of the


2
            Defendant Rose may transmit payment electronically to the SEC,
which will provide detailed ACH transfer/Fedwire instructions upon request.
Payment may also be made directly from a bank account via Pay.gov through the
SEC website at http://www.sec.gov/about/offices/ofm.htm. Defendant Rose may
also pay by certified check, bank cashier’s check, or United States postal
money order payable to the Securities and Exchange Commission, which shall be
delivered or mailed to:

           Enterprise Services Center
           Accounts Receivable Branch
           6500 South MacArthur Boulevard
           Oklahoma City, OK 73169

This payment shall be accompanied by a letter identifying the case title,
civil action number, and name of this Court; identifying Don L. Rose as a
defendant in this action; and specifying that payment is made pursuant to
this final judgment.

            Defendant Rose shall simultaneously transmit photocopies of
evidence of payment and case identifying information to the SEC’s counsel in
this action. By making this payment, Defendant Rose relinquishes all legal
and equitable right, title, and interest in such funds and no part of the
funds shall be returned to Defendant Rose. The SEC shall send the funds paid
pursuant to this final judgment to the United States Treasury.

            The SEC may enforce the Court’s judgment for disgorgement and
prejudgment interest by moving for civil contempt (and/or through other
collection procedures authorized by law) at any time after 14 days following
entry of this final judgment. Defendant Rose shall pay post-judgment
interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.


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Securities Act and Section 21(d) of the Exchange Act, 15 U.S.C.

§§ 77t(d), 78u(d).      Defendant Rose shall satisfy this obligation

by paying $914,249.56.00 to the SEC within 14 days after entry

of this final judgment.3

            10.   It is further ORDERED, ADJUDGED, and DECREED

that, solely for purposes of exceptions to discharge set forth

in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the

allegations in the complaint are true and admitted by Defendant

Rose, and further, any debt for disgorgement, prejudgment

interest, civil penalty or other amounts due by Defendant Rose

under this final judgment or any other judgment, order, consent

order, decree or settlement agreement entered in connection with

this proceeding, is a debt for the violation by Defendant Rose

of the federal securities laws or any regulation or order issued

under such laws, as set forth in Section 523(a)(19) of the

Bankruptcy Code, 11 U.S.C. § 523(a)(19).

            11.   It is further ORDERED, ADJUDGED, and DECREED that

this Court shall retain jurisdiction of this matter for five (5)

years from the date of entry of this order, unless extended by

the Court, for the purposes of enforcing the terms of this final

judgment.

3
            For general instructions regarding transmission of this payment,
see supra n.4. The SEC may enforce the Court’s judgment for a civil penalty
by moving for civil contempt (and/or through other collection procedures
authorized by law) at any time after 30 days following entry of this final
judgment. Defendant shall pay post-judgment interest on any delinquent
amounts pursuant to 28 U.S.C. § 1961.

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         12.   There having been a final determination on the

merits as to all counts against Defendant Rose, and there being

no just reason for delay, the Clerk is directed to enter this

final judgment forthwith, pursuant to Federal Rule of Civil

Procedure 54(b).



         AND IT IS SO ORDERED.


                                    __s/Eduardo C. Robreno___
                                    EDUARDO C. ROBRENO, J.




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